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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS


UNITED STATES OF AMERICA

v.                                            No. 4:12CR00014 SWW

ANTHONY HILL, aka Spanky

                          PRELIMINARY ORDER OF FORFEITURE
                                  Fed.R.Crim.P. 32.2(b)


       IT IS HEREBY ORDERED THAT:

       1. As the result of the guilty plea to Count 1 of the Superseding Indictment, and a

stipulation of defendant Anthony Hill on September 6, 2012, in which he agreed to the forfeiture

the Government sought pursuant to 21 U.S.C. § 853, defendant shall forfeit to the United States:

       a. All property used or intended to be used in any manner or part to commit the

commission of offenses involving 21 U.S.C. § 846 and 841(a)(1) and 841(b)(1)(C).

       2. The Court has determined, based on the evidence already in the record that the

following property is subject to forfeiture pursuant to Title 21 U.S.C. § 853, and that the

government has established the requisite nexus between such property and such offenses:

       2001 Jaguar S-Type, VIN# SAJDA01P51GM15772

       3. Upon the entry of this Order, the United States Attorney General (or a designee) is

authorized to seize the above listed property and to conduct any discovery proper in identifying,

locating, or disposing of the property subject to forfeiture, in accordance with Fed. R. Crim. P.

32.2(b)(3).
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        4. Upon entry of this Order, the United States Attorney General (or a designee) is

authorized to commence any applicable proceeding to comply with statutes governing third party

rights, including giving notice of this Order.

        5. The United States shall publish notice of the order and its intent to dispose of the

property in such a manner as the United States Attorney General (or a designee) may direct. The

United States may also, to the extent practicable, provide written notice to any person known to

have an alleged interest in the Subject Property.

        6. Any person, other than the above named defendant, asserting a legal interest in the

Subject Property may, within thirty days of the final publication of notice or receipt of notice,

whichever is earlier, petition the Court for a hearing without a jury to adjudicate the validity of

his alleged interest in the Subject Property, and for an amendment of the order of forfeiture,

pursuant to 21 U.S.C. §853(n)(2).

        7. Pursuant to Fed. R. Crim. P. 32.2(b)(4)(A), this Preliminary Order of Forfeiture shall

become final as to the defendant at the time of sentencing and shall be made part of the sentence

and included in the judgment. If no third party files a timely claim, this Order shall become the

Final Order of Forfeiture, as provided by Fed. R. Crim. P. 32.2(c)(2).

        8. Any petition filed by a third party asserting an interest in the Subject Property shall be

signed by the petitioner under penalty of perjury and shall set forth the nature and extent of the

petitioner’s right, title, or interest in the Subject Property, the time and circumstances of the

petitioner’s acquisition of the right, title, or interest in the Subject Property, any additional facts

supporting the petitioner’s claim and the relief sought.




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        9. After the disposition of any motion filed under Fed. R. Crim. P. 32.2(c)(1)(A) and

before a hearing on the petition, discovery may be conducted in accordance with the Federal

Rules of Civil Procedure upon a showing that such discovery is necessary or desirable to resolve

factual issues.

        10. The United States shall have clear title to the Subject Property following the Court’s

disposition of all third-party interests, or, if none, following the expiration of the period provided

in 21 U.S.C. 853(n)(2) for the filing of third party petitions.

        11. The Court shall retain jurisdiction to enforce this Order, and to amend it as

necessary, pursuant to Fed. R. Crim. P. 32.2(e).

        SO ORDERED this 18th day of September, 2012.



                                                       /s/Susan Webber Wright
                                                       UNITED STATES DISTRICT JUDGE




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